Case 5:20-cv-00190-JPB-JPM Document 137-4 Filed 03/22/22 Page 1of6 PagelD #: 1067

 

TRANSPORTATION SCHEDULE

Cintas Corporation — Truckload
This Transportation Schedule is effective as of June 29, 2018.

Schneider Logistics, Inc. (“SLI”) and GP Transportation Co dba GP Transco (referred to in the
Master Transportation Services Agreement and in this Transportation Schedule as “SERVICE
PROVIDER”) are parties to a Master Transportation Services Agreement (“Agreement”) with an
Effective Date of June 29, 2018. The terms and conditions of the Agreement are hereby incorporated
by reference into this Transportation Schedule so as to comprise a separate and enforceable contract
between the parties. All initially capitalized terms not defined in this Transportation Schedule shall have
the meaning ascribed in the Agreement. By execution and delivery of this Transportation Schedule, the
parties hereto reaffirm all of the terms and conditions of the Agreement except as modified herein. The
following terms and conditions are specifically applicable to this Transportation Schedule:

1. Customer. For purposes of this Transportation Schedule, the Customer referred to in the
Agreement and this Transportation Schedule shall be Cintas Corporation (“Customer”).

2 Service. SERVICE PROVIDER agrees to meet SLI’s and Customer's volume
requirements, as may be changed by SLI from time to time. SLT and Customer have an expectation of
one hundred percent (100%) on-time pickup and delivery. SERVICE PROVIDER agrees to track all
shipments on an ongoing basis, and to provide SLI and/or Customer shipment status when requested.
SERVICE PROVIDER agrees to provide safe, operational equipment and will not supply any trailers or
containers that have been used to transport hazardous wastes, trash, or solid or liquid waste, whether or
not defined as hazardous wastes under 40 CFR Part 261. Service Provider shall at all times comply with
Hours of Service Rules, including, but not limited to, the use of Electronic Logging Devices, and agrees
to not assign a shipment to a driver who does not have sufficient hours remaining to perform the
requested services.

2.1 California Air Resources Board Requirements. To the extent that any cargo is
transported within the State of California, SERVICE PROVIDER warrants that:

a. All 53 foot trailers, including both dry-van and refrigerated equipment SERVICE
PROVIDER operated and the Heavy Duty Tractors that haul such equipment are in
compliance with the California Air Resources Board Heavy Duty Vehicle
Greenhouse Gas (Tractor-Trailer GHG) Emission Reduction Regulations.

b. All refrigerated equipment it operates within California is in full compliance with the
California ARB TRU ACTM in-use regulations.

 

SCHINEFDER LOGISTICS ©

 

. Page | of 6
SLI’s SERVICE PROVIDER’s PLAINTIFF'S
Initiaks Initials: DD
EXHIBIT
Date: | 4 Date: 6/4 |
| oe ee

  

SCHNEIDER CONFIDEN
Case 5:20-cv-00190-JPB-JPM Document 137-4 Filed 03/22/22 Page 2 of 6 PagelD #: 1068

 

2.2. NoBrokering or use of third parties. SERVICE PROVIDER is prohibited from
contracting with a broker to provide services. SERVICE PROVIDER shall transport all
cargo and shall not broker any loads tendered to SERVICE PROVIDER

3, Rates and Charges.

3.1 Rates. SERVICE PROVIDER shall transport all of the freight tendered to
SERVICE PROVIDER from. to and/or between the points and places set forth in Exhibit
A on an “on-call” basis at the rates specified in Exhibit A. SERVICE PROVIDER agrees
that the mileages associated with the rates set forth in Exhibit A shall be determined by
using PC MILER 31 (shortest), and that SERVICE PROVIDER’s Freight Charges that
are based on miles will, unless otherwise notified in writing, be determined using the
shortest route calculation in PC MILER 31 (shortest).

3.2 Charges. The accessorial charges for SERVICE PROVIDER’s transportation
and related services are set forth in Exhibit B. SERVICE PROVIDER warrants and
represents that there are no other accessorial charges that will apply to SERVICE
PROVIDER'S transportation and related services, nor shall SERVICE PROVIDER
invoice SLI or Customer for the same. From time to time Service Provider and SLI will
enter into an agreement specifically listingyall.applicable rates and charges (including
accessorials and fuel) in the form of a spot quote for the specific movement(s). Spot
quotes will be considered a counterpart.of this Transportation Schedule and shall
constitute the same standing as am addendum. Spot quotes will be established by
authorized representatives of SLfand SERVICE PROVIDER.

3.3 Canadian Taxes. SERVICE PROVIDER shall bill, as a separate invoice line
item, all Goods and Sales»Taxes. (GST), Harmonized Sales Taxes (HST), and Quebec
Sales Taxes (QST) at the appropriate rates. The applicable percentage rate used to
generate such taxes shall be shown on the invoice submitted by SERVICE PROVIDER.

4, Cargo Loss, Damage or. Destruction.

4.} SERVICE PROVIDER’s Cargo Liability, SERVICE PROVIDER assumes
liability as acommon carrier for loss, damage to and/or destruction of Customer's goods,
freight and/or property while under SERVICE PROVIDER's care, custody and/or control.
Freight which has been tendered to SERVICE PROVIDER intact and released by
SERVICE PROVIDER in a damaged condition, or lost or destroyed subsequent to such
tender to SERVICE PROVIDER, shall be conclusively presumed to have been lost,
damaged, and/or destroyed by SERVICE PROVIDER, unless SERVICE PROVIDER
can establish otherwise by clear and convincing evidence. SERVICE PROVIDER shall
either pay payment processing agents designated by Customer directly, or allow an offset
from the amount owed SERVICE PROVIDER based on the provisions below.
Customer's full actual loss, or a lower amount determined by the claims processing agent

SCHNEIDER LOGISTICS:

 

a Page 2 of 6
SLI’s SERVICE PROVIDER’s
Initia Initials: DD
Date: Date: 6/4

SCHNEIDER CONFIDENTIAL 000088
Case 5:20-cv-00190-JPB-JPM Document 137-4 Filed 03/22/22 Page 3 of 6 PagelD #: 1069

  

designated by Customer and SERVICE PROVIDER to be SERVICE PROVIDER’s
responsibility. The amount of Customer's full actual loss, damage and/or delay of ANY
claims not resolved within ninety (90) days of the date of the claim may be offset. SLI or
payment processing agents designated by Customer shall offset the amount in dispute
from the amount otherwise owed SERVICE PROVIDER by that Customer. SERVICE
PROVIDER’s cargo liability is limited to one hundred thousand dollars ($100,000.00)
per occurrence.

4.2 Salvage Claims. SERVICE PROVIDER agrees to waive any and all right of
salvage or resale of any of Customer's damaged freight and shall, at SLI's or Customer's
reasonable request and direction, promptly return or dispose, at SERVICE PROVIDER's
cost, any and all of Customer's damaged and overage freight shipped by SERVICE
PROVIDER. In addition, SERVICE PROVIDER shall not under any circumstance allow
Customer's freight to be sold or made available for sale or otherwise disposed of in any
salvage markets, employee stores, or any other secondary, outlets. In the event the
damaged freight is returned to Customer and salvaged by Customer, then SERVICE
PROVIDER shall receive a credit.

5. SERVICE PROVIDER Payment. SERVICE PROVIDER shall bill the rates and
charges set forth in a Transportation Schedule for SERVICE PROVIDER’s transportation and related
services performed within one hundred eighty (180) days after delivery date. Customer shall pay the
rates and charges for SERVICE PROVIDER’s services. -SLI, its parent and affiliates, shall not be
responsible for nor have any liability to pay SERVICE, PROVIDER in any instance where the Customer
does not pay or payment processing agents designated by Customer do not receive funding from said
Customer for said rates and charges for-services. The payment processing agents designated by
Customer shall pay SERVICE PROVIDER for jits services thirty (30) days after SERVICE
PROVIDER’s invoice date provided‘SERVICE PROVIDER has submitted all required information /
documentation and provided further that the payment processing agent has received the funding for the
same. These requirements may include, but are not necessarily limited to, proof of delivery, a signed
Customer’s bill of lading and/ora signed delivery receipt. For shipments tendered by SLI, SERVICE
PROVIDER shall submit.load delivery/completion information upon each shipment delivery. The
payment processing agents designated by Customer or Customer may refuse SERVICE PROVIDER
invoices received one hundred»eighty (180) days or more after the shipment delivery date. SERVICE
PROVIDER shall/be liable for the cost of processing more than one invoice per shipment if additional
invoices are due to. SERVICE PROVIDER’s negligence. SERVICE PROVIDER shall provide the
payment processing agents designated by Customer or Customer with SERVICE PROVIDER's
depository institution, bank routing number and account number within ten (10) days of payment
processing agent or Customer’s request.

6. SERVICE PROVIDER Communication. SERVICE PROVIDER shall be linked
electronically to the SLI computer system for load tendering and shipment status communications.
SERVICE PROVIDER compliance will be monitored through SLI reports with full compliance
mandatory within ninety (90) days of effective date of this Transportation Schedule. Failure to

SCHNEIDER LOGISTICS”

 

Page 3 of 6
SERVICE PROVIDER’s
Initials: DD
Date: 6/4

 

 

SCHNEIDER CONFIDENTIAL 000089
Case 5:20-cv-00190-JPB-JPM Document 137-4 Filed 03/22/22 Page 4 of6 PagelD #: 1070

 

implement and maintain these communication standards may result in termination of this Transportation
Schedule. SERVICE PROVIDER can establish this link through standard EDI transaction sets or
through SLI’s low-cost Web Tender & Track system. Shipment status updates must be transmitted to
SLI a minimum of two (2) times for each shipment, one status update to confirm pick up and one to
confirm delivery. These updates shall be transmitted within two (2) hours of the event. SLI will send
information to SERVICE PROVIDER regarding these communication options and assist SERVICE
PROVIDER in implementing their data communication system on a timely basis.

7, Customer’s Status as Third Party Beneficiary. The parties agree that SLI’s Customer
shall be an express third party beneficiary of all commitments, representations, promises, covenants,
indemnities and obligations provided to SLI by SERVICE PROVIDER understhis Transportation
Schedule, and SL?’s Customer shall have the right to present claims arising from such commitments
directly to SERVICE PROVIDER as though SERVICE PROVIDER had made such) commitments
directly to Customer,

8. SERVICE PROVIDER Status as Third Party Beneficiary. Solely for the purposes of
this section, and solely in the circumstance where Customer either files bankruptcy, fails to pay Freight
Charges when due, or otherwise fails to provide funding to.a freight payment services company
designated by Customer, SLI assigns, to the extent permitted, its right to SERVICE PROVIDER to
pursue Customer directly for Freight Charges, and SERVICE PROVIDER agrees to indemnify, defend,
release and hold harmless SLI for the same.

9, Canadian Law. In addition to all of. the requirements contained in the Agreement and
this Transportation Schedule, SERVICE PROVIDER, shall comply with all intraprovincial,
interprovincial and international laws, rules and regulations governing SERVICE PROVIDER’s
performance of its transportation and related services for SLI and its Customer, including the securement
of all required permits, licenses and other regulatory authorities.

10. Insolvency. In the event of insolvency, bankruptcy or receivership proceedings are
instituted by or against SERVICE PROVIDER, then SLI or an agent of SLI, may immediately enter
upon any owned or leased property.of SERVICE PROVIDER where any goods of the Customer may be
found and take possession of such goods without liability to SERVICE PROVIDER or any party acting
on behalf of or at the direction SERVICE PROVIDER.

11, Indemnification. To the proportionate extent only caused in whole or in part by acts or
omissions of SERVICE PROVIDER, their agents, employees, and/or subcontractors SERVICE
PROVIDER agrees to indemnify, defend and hold SLI and its Customer(s) (including their respective
officers, directors, employees, subcontractors and agents) harmless from and against any and all
liabilities, damages, fines, judgments, penalties, costs, claims, demands and expenses (including costs
of defense, settlement, and reasonable attorneys' fees) of whatever type or nature. including damage or
destruction of any property, or injury (including death) to any person, arising out of or related to:

* Any act oromission by SERVICE PROVIDER, its agents, employees and/or subcontractors,

 

SCHNEIDER LOGISTICS:
Page 4 of 6

SERVICE PROVIDER's

Initials: DD

Date: _(y § Date: 6/4

SCHNEIDER CONFIDENTIAL 000090

  

 
Case 5:20-cv-00190-JPB-JPM Document 137-4 Filed 03/22/22 Page 5of6 PagelD #: 1071

 

e Any claims or actions by SERVICE PROVIDER's employees, agents and/or
subcontractors,

« ‘The failure of SERVICE PROVIDER, its employees, agents, and/or subcontractors to
comply with this Transportation Schedule, a Master Agreement, and/or any applicable
provincial, federal state or local law, rule or regulation that affects the obligations of
SERVICE PROVIDER under this Agreement or a Transportation Schedule

e SERVICE PROVIDER's, or SERVICE PROVIDER's employees, agents and/or
subcontractors’ performance of this Transportation Schedule or the Master Agreement.

The obligations of SERVICE PROVIDER under this Section shall survive the termination of this
Transportation Schedule and the Master Agreement.

12. Insurance. SERVICE PROVIDER, at SERVICE PROVIDER's»sole expense, shall
maintain the following minimum insurance requirements during the. term of this) Transportation
Schedule:

(a) Broad form commercial general liability insurance, including contractual liability
coverage for all liability assumed by SERVICE PROVIDER under this Transportation Schedule, with
minimum limits of liability of not less than One Million Dollars ($1 ,000,000.00 USD) per occurrence
for bodily injury and/or property damage.

(b) Automobile liability insurance (including owned, non-owned and hired vehicles) with
minimum limits of not less than One Million Dollars. ($1,000,000.00 USD) per occurrence for bodily
injury and property damage.

(c) Cargo liability insurance. with minimum limits of not less than One Hundred
Thousand Dollars ($100,000.00 USD) per shipment for all liability assumed. by SERVICE PROVIDER
under this Transportation Schedule.

(d) Workers compensation insurance in an amount not less than the limits required by
the state or province in which SERVICE PROVIDER performs transportation and related services,
including employer's liability insurance in an amount not less than Five Hundred Thousand Dollars
($500,000.00 USD), If SERVICE PROVIDER is self-insured, a certificate from the state or province in
which SERVICE PROVIDER performs transportation-and related services must be furnished by such
state or provincial agency directly to SLI.

(e) Any insurance coverage required by any governmental body for the type of
transportation and related services specified in this Transportation Schedule,

All insurance required by this Transportation Schedule for services provided in the continental United

States must be written by an insurance company having a A.M. Best's rating of "B+" or better and must
be authorized to do business in the state(s) or province(s) in which SERVICE PROVIDER performs the

SCHNEIDER LOGISTICS”

 

Page 5 of 6
SLI’s : SERVICE PROVIDER’s
Initials Initials: DD
Date: Date: 6/4

SCHNEIDER CONFIDENTIAL 000091
Case 5:20-cv-00190-JPB-JPM Document 137-4 Filed 03/22/22 Page 6 of 6 PagelD #: 1072

 

transportation and related services, SERVICE PROVIDER's insurance shall be primary and required to
respond and pay prior to any other available coverage. SERVICE PROVIDER agrees that SERVICE
PROVIDER, SERVICE PROVIDER's insurer(s), and anyone claiming by, through or under SERVICE
PROVIDER shall have no claim, right of action, or right of subrogation against SLI or its Customer
based on any loss or liability insured under the foregoing insurance. SERVICE PROVIDER shall, prior
to providing any transportation or related services, name SLI and Customer as an additional insured on
their general and automobile liability policies and as a certificate holder or loss payee on their cargo
liability and workers compensation insurance policies and shall cause its insurance company to issue a
certificate to SLI evidencing the foregoing coverage. SERVICE PROVIDER represents and warrants
that it will continuously fulfill the requirements of this Section throughout the duration of this
Transportation Schedule. SLI shall be notified in writing by SERVICE PROVIDER's insurance
company at least thirty (30) days prior to the cancellation, change or non-renewal)of the submitted
insurance policies. The insurance amounts in this Section 12 shall in no way limit the amount of
SERVICE PROVIDER'S liability.

IN WITNESS WHEREOF, the undersigned individuals have executed this Transportation Schedule as
of the dates indicated, and by so doing, represent and warrant that they have been or are specifically
authorized to do so on behalf of the corporations or organizations they represent.

  

 

SLI: SERVICE PROVIDER:

Schneider Logistics, Inc. GP Transportation Co dba GP Transco

By: | By! Darca Drpmentlie
(Signature)

Name: p Name: Darius Diemintas

 

(Print ov Type)

Title: VP-Supply Chain Sluhans. Title: Account Manager

bate: (p/25/1 Date: 6/4/18

Cintas TL TS new3_20180518-BCt

 

SCHINEEDER LOGISTICS

 

Page 6 of 6

SCHNEIDER CONFIDENTIAL 000092
